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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,                   Civil Action No. 2:15-cv-998-JRG-JRP

                 v.                                      CONSOLIDATED LEAD CASE

  NVIDIA CORPORATION, et al.,                               JURY TRIAL DEMANDED

                         Defendants.


                         JOINT MOTION TO DISMISS DEFENDANT

        Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant Sony Computer

 Entertainment America LLC (“Defendant”) (collectively, the “Parties”), pursuant to Fed. R. Civ.

 P. 41(a)(2), hereby move for an order dismissing Plaintiff’s claims in this action against Defendant

 WITH PREJUDICE, and dismissing Defendant’s counterclaims WITHOUT PREJUDICE, with

 each party to bear its own costs, expenses, and attorneys’ fees.
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       DATED November 13, 2015.           Respectfully submitted,

                                          /s/ Neal Massand
                                          Hao Ni
                                          Texas Bar No. 24047205
                                          hni@nilawfirm.com
                                          Timothy T. Wang
                                          Texas Bar No. 24067927
                                          twang@nilawfirm.com
                                          Neal G. Massand
                                          Texas Bar No. 24039038
                                          nmassand@nilawfirm.com
                                          Stevenson Moore V
                                          Texas Bar No. 24076573
                                          smoore@nilawfirm.com
                                          Ni, Wang & Massand, PLLC
                                          8140 Walnut Hill Ln., Ste. 500
                                          Dallas, TX 75251
                                          Tel: (972) 331-4600
                                          Fax: (972) 314-0900

                                          ATTORNEYS FOR PLAINTIFF
                                          DISPLAY TECHNOLOGIES, LLC

                                          /s/ Abran J. Kean__________
                                          Abran J. Kean
                                          Erise IP, P.A.
                                          5600 Greenwood Plaza Blvd.
                                          Suite 200
                                          Greenwood Village, CO 80111
                                          Telephone: 913-777-5600
                                          Fax: 913-777-5601
                                          Melissa R. Smith
                                          Gillam &Smith, LLP
                                          303 South Washington Avenue
                                          Marshall, Texas 75670
                                          Telephone: 903-934-8450
                                          Fax: 903-934-9257

                                          ATTORNEYS FOR DEFENDANT
                                          SONY COMPUTER
                                          ENTERTAINMENT AMERICA LLC
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 13th day of November, 2015, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                               /s/ Neal Massand___
                                               Neal Massand
